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                                  CERTIFICATE OF SERVICE

        Patrick J. Healey, Esquire, hereby certifies that a true and correct copy of the within Motion

has been served upon counsel listed below by the Court’s electronic filing system and via electronic

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DATE:            April 12, 2024                               ______________________________
